 Case 2:09-cr-00784-TS Document 296 Filed 11/12/10 PageID.1262 Page 1 of 2




           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                   CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                    MEMORANDUM DECISION AND
                                                      ORDER DENYING DEFENDANT
                                                      RAMIREZ’S MOTION FOR
                                                      INDIVIDUALIZED VOIR DIRE BY
                                                      COUNSEL


                vs.


 SALVADOR RAMERIZ and MIGUEL                          Case No. 2:09-CR-784 TS
 ANGEL CHAVEZ,
        Defendant.




       Defendant Ramirez moves for individualized voir dire by counsel rather than the

Court. Having carefully considered Defendant’s arguments, the Court finds that the Court

“will examine the jury panel on voir dire and will permit suggestions from counsel for further

examination” as set forth in DUCivR 47-1 (c), made applicable to this criminal case by

DUCrimR 24-1(a). It is therefore




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 Case 2:09-cr-00784-TS Document 296 Filed 11/12/10 PageID.1263 Page 2 of 2




      ORDERED that Defendant Ramirez’s Motion for Individualized Voir Dire by Counsel

(Docket No. 250) is DENIED.

      DATED November 12, 2010.

                                      BY THE COURT:


                                      _____________________________________
                                      TED STEWART
                                      United States District Judge




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